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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                                   June 10, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                                            §
                                                  §       CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,                         §
                                                  §
         Debtor.                                  §
                                                  §       CHAPTER 11

                    ORDER DENYING MOTION FOR CONTINUANCE

        Before the Court is the Motion to Continue Hearing on Confirmation of the Plan (ECF No.
406) filed by 2425 WL, LLC, its Second Amended Supplement (ECF No. 443) and the Response
filed by National Bank of Kuwait, S.A.K.P, New York Branch (ECF No. 440) and its Supplement
(ECF No. 447). The movant is seeking a continuance due to the hospitalization of the principal of
both the debtor and the movant, Ali Choudhri, on June 2, 2024. The Court denies the motion for
continuance for the following reasons.

       The hearing on confirmation of the plan is set for June 17, 2024. This date was picked by
the movant after consideration of several alternate dates.

       Further, the Court has reviewed this Court’s docket, the pleadings, the allegations regarding
the need for the continuance due to medical reasons, and the court record of a hearing attended by
Ali Choudhri on June 4, 2024, in Judge Marvin Isgur’s court.

         Lastly, the parties cannot agree on any other dates to have the hearing until after the
scheduled auction set for June 18, 2024, the objection deadline of July 1, 2024, and the sale hearing
set for July 8, 2024 (ECF No. 254).

        ACCORDINGLY, IT IS ORDERED that the Motion Continue Hearing on Confirmation
of the Plan is denied.

         SIGNED 06/10/2024


                                                      ___________________________________
                                                      Jeffrey Norman
                                                      United States Bankruptcy Judge




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